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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

       UNITED STATES OF AMERICA

       v.                    Case No. 8:10-cr-550-T-17MAP

       PAULA L. HORNBERGER

            ORDER VACATING AMENDED PRELIMINARY ORDER OF FORFEITURE
               FOR SUBSTITUTE ASSETS AS TO CERTAIN REAL PROPERTY

              THIS CAUSE comes before the Court upon the filing of the United States’

       Motion to vacate the Amended Preliminary Order of Forfeiture for Substitute

       Assets (Amended Preliminary Order of Forfeiture), Doc. 1237, entered by the

       Court on June 21, 2013, only as it relates to the real property located at 9809 N.E.

       124th, #306, Kirkland, Washington (real property).

              Being fully advised of the relevant facts, it is hereby:

              ORDERED, ADJUDGED AND DECREED that for good cause shown, said

       Motion of the United States is hereby GRANTED.

              It is FURTHER ORDERED that the Amended Preliminary Order of

       Forfeiture be vacated solely as to the real property identified above.

              It is FURTHER ORDERED that the remainder of the Amended Preliminary

       Order of Forfeiture remain in full force and effect.




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                     DONE and ORDERED in Chambers in Tampa, Florida, this   ,VJ

            day of       IP a& frnsX ftA -__________ 2013.




            Counsel of Record




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